Case 1:21-cv-21676-BB Document 28 Entered on FLSD Docket 08/27/2021 Page 1 of 1




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

 EMILIO PINERO,
      Plaintiff,
 vs.
                                                              Case No.: 21-cv-21676-BB
 DE PAZ HOLDINGS, LLC,
      Defendant.


                    JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

        Plaintiff, EMILIO PINERO, and Defendant, DE PAZ HOLDINGS, LLC, by and through

 their respective counsel, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), hereby stipulate to the

 dismissal of this action with prejudice against Defendant, DE PAZ HOLDINGS, LLC, with each

 party to bear their own attorney’s fees and costs except as otherwise agreed in writing.


        Dated: August 27, 2021

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